         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 1 of 12




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 DONALD J. TRUMP FOR                            )
 PRESIDENT, INC.; et al.,                       )
                                                ) Civil Action
                Plaintiffs,                     )
                                                ) No.: 2-20-CV-966
        v.                                      )
                                                )
 KATHY BOOCKVAR; et al.,                        )
                                                ) Judge J. Nicholas Ranjan
                Defendants.                     )

              REPLY BRIEF IN SUPPORT OF MOTION FOR
A SPEEDY DECLARATORY JUDGMENT HEARING AND EXPEDITED DISCOVERY

       Plaintiffs are asking for a prompt resolution of this matter so that the upcoming election is

carried out in compliance with the United States Constitution and the Pennsylvania Election Code,

and all qualified voters can vote and have their votes counted and undiluted by fraudulent ballots.

Several of the Defendants are attempting to delay any such obligation to abide by the law by

kicking the can down the road, as is evident in the filed Responses wherein nearly all of them say

expedited consideration is not necessary because their time to file motions to dismiss has not

expired; but only one such Defendant identifies the theories that may be asserted if such a motion

is filed. The other roadblocks set up by the Responding Defendants are similarly lacking in

justification or support. Accordingly, Plaintiffs ask this Court to grant their July 1, 2020 Motion

(ECF #6), permit expedited discovery, and conduct a speedy hearing so that the upcoming general

election can be conducted fairly, openly, transparently, and legally.

I.     Rule 57 Does Not Require Responsive Pleadings To Be Filed Before Expedited
       Discovery And A Declaratory Judgment Hearing Occur.

       Nearly every Response or Joinder filed in Opposition to Plaintiffs’ Motion contains an

argument that the requested expedited hearing should not be granted because responsive pleadings

have not been filed yet. See, e.g., Secretary Kathy Boockvar’s Response (ECF #48), p. 5. But,
         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 2 of 12




each Responding Defendant 1 supports this argument with a citation to only two cases: Perry v.

Correct Care Sols., LLC, 2017 U.S. Dist. LEXIS 229393, at *7 (E.D. Va. June 2, 2017); and

Drinan v. Nixon, 364 F. Supp. 853, 854 (D. Mass. 1973). Neither of these cases, though, contains

any reasoned support for the conclusion that Rule 57’s expedited consideration applies only after

a responsive pleading has been filed. The Perry case simply cites the Drinan case as its support.

See Perry, 2017 U.S. Dist. LEXIS 229393, at *7. And the Drinan case simply bases its conclusion

on an implication and assumption. See Drinan, 364 F. Supp. at 854 (“Implicit in such provision,

however, is the assumption that prior to such order for a speedy hearing, the matter in issue will

have been joined by the filing of a responsive pleading.”).

       The Honorable William S. Stickman IV of this Court, fewer than two months ago, rejected

the argument advanced by the Responding Defendants here and ordered in another case expedited

discovery and an expedited hearing prior to the defendant’s filing of a responsive pleading.

Compare Cty of Butler v. Wolf, Case No. 2:20-cv-00677-WSS, Doc. 13, pp.5-6 (arguing lack of

responsive pleading made requested hearing premature) with Cty. of Butler v. Wolf, 2020 U.S.

Dist. LEXIS 93484, at *15-17 (W.D. Pa. May 28, 2020) (Stickman, IV, J.) (ordering expedited

discovery and hearing); see also Practices and Procedures of Judge Ranjan (rev. 1/6/20), Section

II(c) (discovery normally not stayed if a Rule 12 motion filed). This Court should follow the lead

of Judge Stickman and reject the Responding Defendants’ argument which serves only to stymie

a Rule that expressly allows for speedy consideration and would run contrary to Rule 1.



1
  Not all Defendants filed a response or joinder in opposition to Plaintiffs’ Motion. Instead, out of
the sixty-eight (68) defendants, only 38 have filed or served a response or joinder. See ECF ## 43,
46, 48, 51, 59, 61, 63, 64, 65, 66, 67, 69, 70, 71, 73, 74, 76, 77, 80, 81, 82, 84, & 106; Adams
County Board of Elections’ Response (unfiled). Accordingly, the remaining 30 defendants do not
oppose the relief sought by Plaintiffs in their Motion. Moreover, one of the Responding
Defendants, Huntingdon County Board of Elections, filed its Answer to the Complaint without
raising any affirmative defenses or other issue concerning Plaintiffs’ standing. See ECF #36.
                                                -2-
         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 3 of 12




II.    Plaintiffs Have Standing to Pursue their Claims.

       Several of the Responding Defendants argue that discovery and other proceedings in this

matter should not be expedited because Plaintiffs purportedly lack standing. See, e.g., Defendant

Crawford County Board of Elections’ Response (ECF #46), pp. 2-5. The Responding Defendants’

argument is not well-taken for several reasons.

       “The standing inquiry ... focuse[s] on whether the party invoking jurisdiction ha[s] the

requisite stake in the outcome when the suit [i]s filed.” Davis v. FEC, 554 U.S. 724, 734 (2008).

“To establish that stake, a plaintiff must show three elements: injury-in-fact, causation, and

redressability.” Constitution Party v. Aichele, 757 F.3d 347, 360 (3d Cir. 2014). Consequently,

“[a] plaintiff has standing in federal court if the party can allege an injury in fact caused by the

defendant that can be redressed by the courts.” Pierce v. Allegheny County Board of Elections,

324 F. Supp. 2d 684, 692-93 (W.D. Pa. 2003).

       A.      The RNC and the Trump Campaign have Standing to Pursue Their Claims in
               this Action.

       It is beyond peradventure that political parties and committees have standing to ensure that

elections are conducted in conformity with the law. See, e.g., Sandusky County Democratic Party

v. Blackwell, 387 F.3d 565, 573-74 (6th Cir. 2004); Pa. Democratic Party v. Republican Party of

Pa., 2016 U.S. Dist. LEXIS 153944, at *8-9 (E.D. Pa. Nov. 7, 2016); Democratic Exec. Comm. v.

Detzner, 347 F. Supp. 3d 1017, 1025 (N.D. Fl. 2018); Orloski v. Davis, 564 F. Supp. 526, 530-31

(M.D. Pa. 1983). As the Pennsylvania Middle District court in Orloski explained, because political

parties “endorse[] and support[] candidates for statewide [] office in the Commonwealth,”

“represent all [their party] electors of the Commonwealth and [their endorsed] candidates for

[office],” and sought to protect an interest that “is germane to [their] organizational purpose” and




                                               -3-
         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 4 of 12




did not “require[] participation of individual members,” political parties suffer an injury for which

they have standing to sue in federal court. Orloski, 564 F. Supp. at 531.

       Similar to the challenge in Orliski, where the election process itself was at issue, the

Republican National Committee, as a national political committee that leads the Republican Party

of the United States, has an interest in protecting both its organizational interests and the interests

of its members, voters and candidates in the upcoming November 4, 2020 General Election. See

Verified Complaint (ECF#4), ¶ 13. Moreover, the relief sought by the RNC in this lawsuit seeks

to redress the injury suffered by the RNC and its members, voters, and endorsed and nominated

candidates as a result of Defendants’ unconstitutional misadministration of the Pennsylvania

Election Code’s provisions involving absentee and mail-in voting and poll watching. Id. at ¶¶ 18-

204. Accordingly, the RNC has standing to bring this action.

       As for the Trump Campaign, it is well recognized that “after the primary election, a

candidate steps into the shoes of his party, and their interests are identical.” Tex. Democratic Party

v. Benkiser, 459 F.3d 582, 587-588 (5th Cir. 2006). Thus, much like the RNC, the Trump

Campaign also has standing to bring this action.

       Without addressing the above authority, the Responding Defendants contend that the RNC

and Trump Campaign lack standing, citing Erfer v. Commonwealth, 794 A.2d 325, 330 (Pa. 2002),

abrogated on other grounds, League of Women Voters v. Commonwealth, 178 A.2d 737 (Pa.

2018). However, Erfer, limited to “the law of standing in reapportionment matters,” was decided

under Pennsylvania state law and not federal standing requirements. Erfer, 794 A.2d at 329-30.

Consequently, Erfer is not controlling.




                                                 -4-
         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 5 of 12




       B.      The Congressmen and Individual Voter Plaintiffs, as Qualified Electors, have
               Standing to Pursue the Claims in this Action.

       Like political committees, voters are recognized as having standing to pursue litigation to

ensure an election is conducted in accordance with the relevant laws and constitutional provisions.

See, e.g., Pierce, 324 F. Supp. 2d at 692-93. In Pierce, which involved substantially similar claims

of unconstitutional misadministration of the Pennsylvania Election Code’s absentee ballot law,

this Court ruled that voters had standing to pursue their constitutional claims in federal court

because they met all three requirements for federal standing. Id. The holding in Pierce supports

the existence of standing by the Plaintiff voters in this case.

       However, in their opposition to Plaintiffs’ Motion, the Responding Defendants suggest that

Pierce stands for the proposition that for voters to have standing, they must be from the counties

that are allegedly violating the Election Code. See, e.g., Defendant Crawford County Board of

Elections’ Response (ECF #46), pp. 4-5 (“there is no support for the notion that an elector has

standing to seek an injunction against a county board of elections in which the elector does not

reside”). Yet, what these Responding Defendants ignore is that the upcoming November 4, 2020

election is a general election, with statewide and federal candidates on the ballot, and not a local

election involving only candidates in that particular county. See Verified Complaint (ECF#4), ¶¶

1, 8-12. As this Court noted in Pierce, when different standards are employed in different counties

across the Commonwealth of Pennsylvania to determine whether a ballot has been properly cast

and should be counted in a federal or statewide election, such “disparate treatment implicates the

[federal] equal protection clause because uniform standards will not be used statewide to discern

the legality of a vote in a statewide election.” Pierce, 324 F. Supp. 2d at 699.

       Voters in a statewide Pennsylvania election have federal court standing to sue any county

election board which improperly administers the provisions of the Pennsylvania Election Code in


                                                 -5-
         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 6 of 12




a manner that causes improperly or illegally cast votes to dilute the votes of those who have

properly cast their ballots. The voters’ residency is irrelevant to their federal court standing to

challenge such counties’ infringement of their fundamental rights under the United States

Constitution. Accordingly, the Plaintiff voters have standing to pursue the claims in this action.

        C.      All Plaintiffs have Standing to Pursue the Poll Watching Claims in this Action.

        Finally, all political parties and candidates have standing to pursue litigation involving poll

watchers as they are the ones designated under Pennsylvania’s Poll Watching statute with the

authority to appoint poll watchers to represent them on Election Day, at sessions of the county

election boards, and during any recount or recanvasss. See 25 P.S. §§ 2650(a) & (c), 2687.

Because all political parties and candidates have the right to appoint poll watchers in the upcoming

November 4, 2020 General Election, they have federal court standing to pursue claims that

unconstitutionally infringe upon that right.        In their opposition to Plaintiffs’ Motion, the

Responding Defendants do not explain why such standing does not allegedly exist. Such lack of

explanation is telling and compels the conclusion that the Plaintiffs have federal court standing to

assert their constitutional challenges to that statute.

        In the end, Plaintiffs have standing to pursue their claims in this action.

III.    The Existence Of Other Pending Lawsuits Is Irrelevant.

        Some of the Responding Defendants claim that Plaintiffs’ Complaint should be dismissed

because other lawsuits are pending that raise allegedly similar claims. See ECF #76, pp. 3-4.

Relatedly, these same Responding Defendants claim this Court should abstain from deciding this

case due to the pending claims in state courts. Id. Neither claim is relevant; nor does either claim

mean this Court should not address the federal constitutional claims raised in this lawsuit.




                                                  -6-
         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 7 of 12




       First, “abstention is appropriate where, absent bad faith, harassment, or a patently invalid

state statute, federal jurisdiction has been invoked for the purpose of restraining state criminal

proceedings; state nuisance proceedings antecedent to a criminal prosecution, which are directed

at obtaining the closure of places exhibiting obscene films; or collection of state taxes.” Colorado

River Water Conservation Dist. v. United States, 424 U.S. 800, 816 (1976) (citations omitted). As

Plaintiffs’ Complaint does not involve a criminal or nuisance proceeding a tax collection matter,

abstention is not warranted. Id. at 816.

       Second, abstention may be appropriate “in cases presenting a federal constitutional issue

which might be mooted or presented in a different posture by a state court determination of

pertinent state law.” Colorado River, 424 U.S. at 814 (citation omitted). However, “the state has

no right to an unconstitutional policy, coherent or otherwise.” Allstate Ins. Co. v. Sabbagh, 603

F.2d 228, 232 (1st Cir. 1979); see also Fireman's Fund Ins. Co v. Quackenbush, 87 F.3d 290, 297

(9th Cir. 1996). Moreover, abstention is improper where the state law issue is relatively clear or

where it is unlikely that the state statute can be interpreted so as to avoid the constitutional issue.

Baggett v. Bullitt, 377 U.S. 360, 375-77 (1964).

       Third, abstention is appropriate only when “exceptional circumstance” exist. O'Neill v.

United States, 50 F.3d 677, 688 (9th Cir. 1995), cert. denied, 116 S. Ct. 672 (1995). Relevant

factors to be considered include whether the state and federal suits are substantially similar, Nakash

v. Marciano, 882 F.2d 1411, 1416 (9th Cir. 1989); the inconvenience of the federal forum or the

forum in which jurisdiction was first obtained, Colorado River, 424 U.S. at 818; whether state or

federal law provides the rule of the decision on the merits, Youell v. Exxon Corp., 74 F.3d 373,

375 (2d Cir. 1996); and the risk of conflicting results, Colorado River, 424 U.S. at 818. “The

presence of state law issues … is not generally a valid justification for granting a stay under



                                                 -7-
         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 8 of 12




the Colorado River doctrine.” Intel Corp. v. Advanced Micro Devices, Inc., 12 F.3d 908, 915 (9th

Cir. 1993).

       Here, one of the suits pointed-to by Responding Defendants (Pennsylvania Democratic

Party v. Boockvar) was filed after this lawsuit and does not name all the same parties in this lawsuit

and not seek the same relief requested by this action. The other two lawsuits involve claims arising

only under state law, not the federal constitution, and have been brought by parties that lack

standing to pursue them. In contrast, Plaintiffs’ Complaint invokes federal question jurisdiction

because the action arises under the United States Constitution and the laws of the United States

and involves a federal election, and has been brought by those who have standing to do so. See

Verified Complaint (ECF#4), ¶ 6; supra., pp. 4-10.

       Moreover, the suggested abstention doctrine is not applicable as the law Plaintiffs are

seeking to enforce is not complex and there is no realistic contest to the meaning of the statutes at

issue. For example, the Pennsylvania Election Code expressly prohibits third-party delivery or

other ballot harvesting. See 25 P.S. §§ 3146.6(a) & 3150.16(a). See also In re Canvass of Absentee

Ballots of Nov. 4, 2003 Gen. Election, 843 A.2d 1223, 1231-32, 1234 (Pa. 2004). Yet, some

counties allowed third-parties to deliver absentee and mail-in ballots for non-disabled voters in the

June 2, 2020 Primary Election and are likely to allow the same in the General Election.

       Under such circumstances, abstention is inappropriate. See, e.g., Moses H. Cone Memorial

Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 14 (1983) (emphasizing abstention is only appropriate

in rare cases); see also ECF #108, ¶7(d) (collecting cases). Accordingly, abstention does not

warrant a denial of Plaintiff’s Motion.




                                                -8-
         Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 9 of 12




IV.    Exclusive Jurisdiction Does Not Rest in the Commonwealth Court.

       Some Responding Defendants also erroneously claim that this Court does not possess

jurisdiction over this matter or that the venue of this matter resides in the Commonwealth

Court. This court has jurisdiction to hear matters involving claims arising under the U.S.

Constitution. See 28 USCS § 1331. Further, if a federal court could not hear constitutional

challenges to various aspects of the election code, the numerous federal cases cited in this brief

(let alone the myriad decisions issued but not cited herein) would not exist. See also Constitution

Party of Pa. v. Cortes, 116 F. Supp. 3d 486, 491 (E.D. Pa. 2015) (recognizing that the

Commonwealth Court has exclusive jurisdiction over matters related to statewide office but

entering substantive decision on claims that certain actions under the election code violated the

U.S. Constitution). Venue is proper in this district given that a substantial part of the events giving

rise to the claim occurred within Allegheny County, which is within this judicial district. See 28

U.S.C. § 1391(b)(2).

       Relatedly, some Responding Defendants argue that they should not be parties to the

litigation because the Complaint does not contain allegations that illegal conduct occurred in their

county during the primary election and, therefore, will not occur in the general election. But, unless

all counties follow the same process and follow the law the same way, as there is a need to ensure

the process followed in each county is the same and that all counties follow the law, equal

protection principles are implicated. See, e.g., In re Canvass of Absentee Ballots of Nov. 4, 2003

Gen. Election, 843 A.2d at 1227 (noting federal court, relying on equal protection grounds, entered

injunction preventing counting of ballots delivered by third party in Allegheny County because

other counties were not counting such ballots); Bush v. Gore, 531 U.S. 98, 104-105 (2000) (“Equal

protection applies as well to the manner of its exercise. Having once granted the right to vote on



                                                 -9-
        Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 10 of 12




equal terms, the State may not, by later arbitrary and disparate treatment, value one person’s vote

over that of another.”). Thus, all counties are indispensable parties and properly before this Court.


V.     The Discovery Sought by Plaintiffs Is Not Burdensome Or Time-Consuming,

       Most of the Responding Defendants admit that they are a long way towards collecting the

discovery material identified by Plaintiffs. See, e.g., Defendant Crawford County Board of

Elections’ Response (ECF #46), pp. 6-9. Thus, it is hard to believe the discovery requests would

be burdensome as alleged, let alone unduly burdensome. See, e.g., Western Acceptance, LLC v.

Gen. Agric. Inc., No. 20-cv-00052, 2020 U.S. Dist. LEXIS 119529, at *16-17 (D. Colo., Jul. 8,

2020) (even significant discovery burdens are “well within the normal range” because parties

always are burdened by discovery under our judicial system).

       But, to the extent there is a viable burdensomeness objection, Plaintiffs are amenable to a

requirement that the parties meet-and-confer on the discovery topics and report the results of the

same to the Court on an expedited basis. See, e.g., Cty. of Butler, 2020 U.S. Dist. LEXIS 93484,

at *16 (“[T]he Court hereby ORDERS the parties to meet and confer on the following topics: 1)

The type and extent of discovery sought by each party. To the extent that discovery is necessary,

the Court will issue a case management order with condensed discovery deadlines; … .”).

VI.    Conclusion

       Accordingly, Plaintiffs ask this Court to grant their July 1, 2020 Motion (ECF #6), permit

expedited discovery, and conduct a speedy hearing so that the upcoming general election can be

conducted fairly, openly, transparently, and legally.




                                               - 10 -
       Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 11 of 12




                                     Respectfully submitted,

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                                    - 11 -
             Case 2:20-cv-00966-NR Document 120 Filed 07/17/20 Page 12 of 12




                                     CERTIFICATE OF SERVICE

             I hereby certify that I caused a true and correct copy of the foregoing Reply Brief to be

filed this 17th day of July, 2020, via ECF, which system will serve notice of same on all parties

registered to receive same via the ECF system. For any party who has yet to enter an appearance,

the undersigned certifies that a copy of the foregoing filing will be served on that party via U.S.

Mail and a copy sent to the County Solicitor, if known, via email or fax.

                                                    Respectfully submitted,

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